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                      Exhibit B
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ERO Custody Management Division
Population Counts from February 1, 2022 through February 28, 2022
Source: ICE Integrated Decision Support (IIDS), 03/02/2022
IIDS is a data warehouse that contains dynamic data extracts from the Enforcement Integrated Database (EID).
FY2022 data: IIDS as of 03/02/2022; EID data through 03/01/2022
Average Daily Population is calculated by the total daily population divided by the number of days in the month
Total Daily Population includes single adults and individuals in family units



ERO is currently appropriated sufficient funding for approximately 34,000 detention beds nationwide, to support its mission to enforce
immigration law. ICE’s access to its full inventory of bedspace is severely limited due to various court orders limiting the intake of
noncitizen detainees, an increase in detention facility contract terminations, detention facility contract modifications, and the ongoing
COVID-19 pandemic. Specifically, ICE’s Pandemic Response Requirements (PRR) for its detention facilities, which are informed by the
Centers for Disease Control and Prevention’s COVID-19 guidelines, require that facilities undertake efforts to reduce populations to
approximately 75% capacity. Last year, the U.S. District Court for the Central District of California issued a nationwide preliminary
injunction recognizing the 75% capacity limit, and ordering ICE to maintain additional strict standards to reduce the risk of COVID-19
infection. See Fraihat v. ICE, 445 F.Supp.3d 709 (C.D. Cal. Apr. 20, 2020). In light of these mandates, ICE’s currently available bedspace
inventory is only approximately 28,933 beds



                                  Month                                                 February
                   Monthly Average Daily Population (ADP)                                   19,860

               Date Daily Population
            2/1/2022                21,362
            2/2/2022                21,353
            2/3/2022                21,746
            2/4/2022                21,356
            2/5/2022                21,243
            2/6/2022                21,235
            2/7/2022                21,554
            2/8/2022                21,179
            2/9/2022                21,114
           2/10/2022                20,975
           2/11/2022                20,223
           2/12/2022                20,138
           2/13/2022                20,333
           2/14/2022                20,355
           2/15/2022                19,887
           2/16/2022                19,448
           2/17/2022                18,981
           2/18/2022                18,509
           2/19/2022                18,458
           2/20/2022                18,737
           2/21/2022                18,893
           2/22/2022                19,105
           2/23/2022                18,553
           2/24/2022                18,250
           2/25/2022                17,951
           2/26/2022                18,201
           2/27/2022                18,427
           2/28/2022                18,511
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ERO LESA Statistical Tracking Unit
For Official Use Only (FOUO)/Pre-decisional
Texas v Biden (MPP) - Reporting Requirement - 03/08/2022

FY2022 February ICE Removals
of Expedited Removals
        Case AOR       Feb
Atlanta                     51
Baltimore                 -
Boston                       4
Buffalo                      2
Chicago                      7
Dallas                      22
Denver                     37
Detroit                      8
El Paso                    61
HQ                           2
Harlingen                 569
Houston                    36
Los Angeles                  6
Miami                       15
New Orleans               129
New York City                1
Newark                     12
Philadelphia                14
Phoenix                    69
Salt Lake City               3
San Antonio                43
San Diego                  40
San Francisco                6
Seattle                     39
St. Paul                     6
Washington                  13
Total                   1,195
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ERO-LESA Statistical Tracking Unit
For Official Use Only (FOUO)/Pre-decisional
Texas v Biden (MPP) - Reporting Requirement - 03/08/2022

   ICE Initial Book Ins in FY2022 February with       Feb
              Arresting Agency of CBP                 21,915


   ICE Initial Book Ins in FY2022 February with
Arresting Agency of CBP with a previously occurring   Feb
 USBP Apprehension or CBP OFO Encounter at the
                 Southwest Border                     21,426
               03/05/2022 ICE Currently Detained       4,952
                   FY2022 ICE Final Release           15,974
                               Bonded out                872
FY2022 YTD               Order of Recognizance        13,250
                           Order of supervision          144
                                Paroled                1,708
                     FY2022 ICE Removal                  289
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ERO-LESA Statistical Tracking Unit
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Texas v Biden (MPP) - Reporting Requirement - 03/08/2022

Footnotes
FY2022 ICE Initial Book Ins data are updated through 03/05/2022 (IIDS run date 03/06/2022; EID as of 03/05/2022).
ICE Currently Detained National Docket data are a snapshot as of 3/05/2022 (IIDS run date 03/06/2022; EID as of 03/05/2022).
FY2022 ICE Final Releases data are updated through 3/05/2022 (IIDS run date 03/06/2022; EID as of 03/05/2022).
FY2022 ICE Removals data are updated through 3/05/2022 (IIDS run date 03/06/2022; EID as of 03/05/2022).
Current fiscal year data, FY2022, will reflect updated values until the FY2022 data lock in Oct 2022.

USBP Apprehensions FY14 - FY22 YTD uploaded to IIDS on 03/07/2022, with FY22 apps through 03/07/2022.
Office of Field Operations (OFO) Southwest Border Operations (SBO) Enforcement Encounters Report with Subject-level details for
FY22TD through03/05/2022.


For the purpose of this report, only the most recent status for an individual who had an ICE Initial Book Ins per fiscal year with
Arresting Agency of CBP with a previously occurring USBP Apprehension or CBP OFO Encounter at the Southwest Border is included
in the summary count. I.e., Individual with multiple initial book-ins within the fiscal year pertinent to this litigation should have the
same reported status and not be included in multiple status summary counts.

The person record for 211 ICE Initial Book Ins in FY2022 February pertinent to this litigation could not be matched to an ICE Current
Detention (snapshot as of 03/05/2022), FY2022 YTD ICE Final Release or FY2022 YTD ICE Removal occurring after the ICE Initial
Book In date.


ICE Initial Book Ins are matched to USBP Apprehensions and/or OFO Encounters based on subject-level details (Civilian record) where
the USBP Apprehension and/or OFO Encounter occur prior to the ICE Initial Book In date. STU cannot confirm that the ICE Initial
Book In is directly related to the matched USBP Apprehension and/or OFO Encounter.



ICE Initial Book Ins
ICE Detention data exclude ORR transfers/facilities, as well as U.S. Marshals Service Prisoners.
All stats are pulled based on Current Program which attributes all cases back to the Program of the processing officer of the event.
However, if Current Program = OPL, XXX, ZZZ, or null, then Event Program is used.
The "CBP" Arresting Agency includes the following programs: Border Patrol, Inspections, Inspections-Air, Inspections-Land, and
Inspections-Sea.
Individuals may have more than one ICE Initial Book Ins relevant to this litigation. All have been included.
Individuals may have more than one USBP Apprehensions and/or OFO Encounters relevant to this ligation. The latest occurring
Apprehension or Encounter is included.


ICE Detained National Docket
ICE Detention data exclude ORR transfers/facilities, as well as U.S. Marshals Service Prisoners.
ICE Initial Book Ins are matched to ICE Current Detention record based on person-level details (Person record) where the ICE Initial
Book In occur prior to the ICE Current Detention date. The ICE Initial Book In may not be directly related to the matched ICE Current
Detention.


ICE Final Releases
An ICE Final Release is defined as a Final Bookout that reflects one of the following release reasons: Bonded Out, Order of
Recognizance, Order of Supervision, Paroled, or Prosecutorial Discretion. All Case Statuses are included.
ICE Detention data exclude ORR transfers/facilities and U.S. Marshals Service Prisoners.
An alien may have multiple releases; only the most recent release is included in this report.
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ICE Initial Book Ins are matched to ICE Final Release record based on person-level details (Person record) where the ICE Initial Book
In occur prior to the ICE Final Release date. The ICE Initial Book In may not be directly related to the matched ICE Final Release.

ICE does not track the number of applicants paroled or released into the United States based on DHS' s lack of detention capacity.

ICE Removals
ICE Removals include Returns. Returns include Voluntary Returns, Voluntary Departures and Withdrawals Under Docket Control.
ICE Removals include aliens processed for Expedited Removal (ER) or Voluntary Return (VR) that are turned over to ERO for
detention. Aliens processed for ER and not detained by ERO or VR after June 1st, 2013 and not detained by ERO are primarily
processed by Border Patrol.


Starting in FY2009, ICE began to “lock” removal statistics at the end of each fiscal year and counted only the aliens whose removal or
return was already confirmed. Aliens removed or returned in that fiscal year but not confirmed until after the end of that fiscal year were
excluded from the locked data and thus from ICE statistics. To ensure an accurate and complete representation of all removals and
returns, ICE will include the removals and returns confirmed after the end of that fiscal year into the next fiscal year. The number of
removals in FY2009, excluding the "lag" from FY2008, was 387,790. The number of removals in FY2010, excluding the "lag" from
FY2009, was 373,440. This number does not include 76,732 expedited removal cases which ICE closed on behalf of CBP in FY2010.
Of those 76,732, 33,900 cases resulted from a joint CBP/ICE operation in Arizona. ICE spent $1,155,260 on those 33,900 cases. The
number of removals in FY2011, excluding the "lag" from FY2010, was 385,145. The number of removals in FY2012, excluding the
"lag" from FY2011, was 402,919. The number of removals in FY2013, excluding the "lag" from FY2012, was 363,144. The number of
removals in FY2014, excluding the "lag" from FY2013, was 311,111. The number of removals in FY2015, excluding the "lag" from
FY2014, was 231,250. The number of removals in FY2016, excluding the "lag" from FY2015, was 235,524. The number of removals in
FY2017, excluding the “lag” from FY2016, was 220,649. The number of removals in FY2018, excluding the “lag” from FY2017, was
252,405. The Number of removals in FY2019, excluding the "lag" from FY2018, was 262,591. The number of removals in FY2020,
excluding the “lag” from FY2019, was 177,516. The number of removals in FY2021, excluding the “lag” from FY2020, was 55,355.


FY Data Lag/Case Closure Lag is defined as the physical removal of an alien occurring in a given month; however, the case is not
closed in EARM until a subsequent FY after the data is locked. Since the data from the previous FY is locked, the removal is recorded
in the month the case was closed and reported in the next FY Removals. This will result in a higher number of recorded removals in an
FY than actual departures.

All stats are pulled based on Current Program which attributes all cases back to the Program of the processing officer of the event.
However, if Current Program = OPL, XXX, ZZZ, or null, then Event Program is used.
Expedited removals include cases have one of the following case categories:
[8F] Expedited Removal [8G] Expedited Removal - Credible Fear Referral, [8H] Expedited Removal - Status Claim Referral, [8K]
Expedited Removal Terminated due to Credible Fear Finding / NTA Issued.
Month break out of Expedited Removals is based on fiscal month of departure.

ICE Initial Book Ins are matched to ICE Removal record based on person-level details (Person record) where the ICE Initial Book In
occur prior to the ICE Removal date. The ICE Initial Book In may not be directly related to the matched ICE Removal.
